                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 14-54351

AMY ROSENFELD,                                                Chapter 7

                  Debtor.                                     Judge Thomas J. Tucker
___________________________________/

JOEL ROSENFELD,

                        Plaintiff,

v.                                                            Adv. Pro. No. 15-4318

AMY ROSENFELD,

                   Defendant.
___________________________________/

               OPINION REGARDING SUBJECT MATTER JURISDICTION

I. Introduction

         Plaintiff Joel Rosenfeld is the ex-husband of Defendant Amy Rosenfeld (the “Debtor”).

Debtor filed a voluntary petition for relief under Chapter 7 on September 10, 2014, commencing

Case No. 14-54351. On March 31, 2015, Plaintiff filed this adversary proceeding, seeking an

order denying the Debtor a discharge under several provisions of 11 U.S.C. § 727(a).

         It appeared to the Court that any debt the Debtor owes to Plaintiff is nondischargeable in

the Debtor’s Chapter 7 case under 11 U.S.C. § 523(a)(15). As a result, the Court questioned

whether Plaintiff has the requisite personal stake in the outcome of this § 727(a) action to support

subject matter jurisdiction. On June 5, 2015, the Court entered an order requiring Plaintiff to

show cause in writing why this adversary proceeding should not be dismissed, for lack of subject

matter jurisdiction, based on this Court’s reasoning in Mapley v. Mapley, 437 B.R. 225 (Bankr.




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E.D. Mich. 2010) (Docket # 14, the “Show-Cause Order”).

        On June 19, 2015, Plaintiff filed a brief in response to the Show-Cause Order (Docket

# 16). On June 27, 2015, the Court entered an order that permitted the Debtor to file a response

to the Show-Cause Order and to the arguments made in Plaintiff’s brief (Docket # 18). On July

13, 2015, the Debtor filed a brief in response to the Show-Cause Order (Docket # 24).

        The Court has considered the arguments of the parties, and the Court concludes that a

hearing is not necessary; and that this adversary proceeding must be dismissed, because the Court

lacks subject matter jurisdiction.

II. Facts

        A. The judgment of divorce

        Prepetition, on July 1, 2013, a judgment of divorce was entered between the parties in the

Oakland County, Michigan Circuit Court (the “Divorce Judgment”).1 The Divorce Judgment

provided for joint legal custody of the parties’ three minor children, “with primary physical

residence being awarded to the [Debtor].”2 The Divorce Judgment awarded the Debtor the

marital home.3 The Divorce Judgment provided, in relevant part:

                       Each party shall keep the other informed of the
                whereabouts of the children and their own whereabouts in the
                event of a medical or other emergency.

        1
         A copy of the Divorce Judgment is attached to Plaintiff's brief in response to the Show-Cause
Order (Docket # 16) at Exhibit B.
       2
            Divorce Judgment at 3 (“5. CUSTODY OF MINOR CHILDREN”).
        3
          See id. at 12-14. The marital home awarded to the Debtor is located at 4612 W. Maple Road,
Bloomfield Township, Michigan. In this opinion, the Court will refer to that home as the “marital
home,” even though such home is now the Debtor’s home, because even after the Divorce Judgment was
entered awarding the Debtor such home, the state court sometimes referred to the home as the “marital
home.”

                                                   2



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                  ...

                          Each party shall provide the other with their present address
                  and telephone number and any subsequent changes thereof.

                        The [Debtor] shall notify the Friend of the Court in writing
                  whenever the address of the minor children changes.4

       B. Post-judgment proceedings in the state court

       After the Divorce Judgment was entered, Plaintiff discovered that the marital home was

contaminated by mold, which was causing pre-existing medical conditions of the children to

worsen while they were in the Debtor’s custody. Plaintiff filed a motion in the state court

divorce case, seeking an order requiring the Debtor to remediate the mold problem in the marital

home, and removing the children from the home until such remediation was completed.

       The parties later reached a settlement of the motion, and on February 12, 2014, the state

court entered a stipulated order entitled “Stipulated Order Regarding Plaintiff’s Motion

Concerning Marital Home” (the “Stipulated Order”), which provided, in relevant part:

                         IT IS HEREBY ORDERED that during the time the minor
                  children are with the [Debtor], they will only reside with her at the
                  maternal grandparent’s home effective February 12, 2014, without
                  prejudice, until further order of the Court.

                          IT IS FURTHER ORDERED that the attorneys for the
                  parties and an agent from Belfor Property Restoration will meet at
                  the subject property on February 19, 2014, at 12:30 p.m. for the
                  purpose of investigating and determining how best to remediate
                  and repair the house.

                          IT IS FURTHER ORDERED that the issues of attorney
                  fees and costs, the cost of repair and remediation, and any other
                  issues in the motion not covered by this Order, are reserved for


       4
           Id. at 4.

                                                    3



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                    determination by the Court.5

        On September 3, 2014, Plaintiff filed a motion in the state court to hold the Debtor in

contempt of court (the “Contempt Motion”), based on the Debtor’s alleged violation of the

Stipulated Order and several provisions of the Divorce Judgment.6 Plaintiff alleged in the

Contempt Motion that the Debtor violated the Stipulated Order by “mov[ing] the children back

into the [marital] house on March 30, 2014, even though [the Debtor] had not had the mold

problem remediated.”7 Plaintiff also alleged that the Debtor violated the provisions of the

Divorce Judgment that required the Debtor to keep the Plaintiff informed about her and their

children’s whereabouts; their current address and telephone number; and any changes to their

address and telephone number.8 The Contempt Motion, in relevant part, sought an award of the

attorney fees and costs that Plaintiff had allegedly incurred “in connection with having to file the

. . . [Contempt] Motion, including all costs and fees that were preserved for future

determination.”9

        On October 8, 2014, the state court entered an order holding the Debtor in contempt (the

“Contempt Order”),10 based on her violation of the Stipulated Order. The Contempt Order


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             A copy of the Stipulated Order is attached to Plaintiff’s brief (Docket # 16) as Exhibit E.
        6
         Contempt Mot. at 5 ¶ 9, 6 ¶ 13,7 ¶ 17(a), 8 ¶ 17(b), 9 ¶ 17(d), 12 ¶ 24, 13 ¶ 29. A copy of the
Contempt Motion is attached to Plaintiff's brief (Docket # 16) as Exhibit D.
        7
             Id. at 5 ¶ 9.
        8
             Id. at 7 ¶ 17(a), 9 ¶ (b).
        9
             Id. at 16 ¶ A(iv).
        10
           Contempt Or. (Ex. G of Plaintiff’s brief in response to the Show-Cause Order (Docket # 23)).
Exhibit G filed at Docket # 23 amends and supercedes Exhibit G filed at Docket # 16, which was
illegible.

                                                        4



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provided in relevant part, that “[t]he issues of sanctions and attorney fees is set for an evidentiary

hearing on January 24, 2015 at 8:30 a.m.” That evidentiary hearing has not yet taken place,

apparently because of the Debtor’s intervening Chapter 7 bankruptcy case, filed on September

10, 2014.

       C. Plaintiff’s proof of claim

       On June 8, 2015, Plaintiff filed a proof of claim (Claim No. 2, “Proof of Claim”) in the

Debtor’s bankruptcy case (Case No. 14-54351). The Proof of Claim states, in the section entitled

“Basis for Claim”: “Claim for sanctions and divorce judgment claims.” In his brief in response

to the Court’s Show-Cause Order, Plaintiff alleges that the basis for the Proof of Claim is as

follows:

                 The Proof of Claim is in the amount of $597,060.00. The claim has
                 three components: (i) Debtor’s indemnification of the Plaintiff for
                 any claims related to the real estate located at 4612 W. Maple
                 Road, which arises under the [Divorce] Judgment. The Plaintiff
                 valued this aspect of the claim in the amount of $499,000.00; (ii)
                 Debtor’s obligation to give to Plaintiff his 50% share of their
                 marital property in the Debtor’s possession, which arises under the
                 [Divorce] Judgment. The Plaintiff valued this aspect in the amount
                 of $68,060.00; and (iii) the Plaintiff’s claim against the Debtor
                 in the amount of $30,000.00 for attorney fees and costs. This
                 claim arises out of the Debtor’s violation of the Stipulated
                 Order, which occurred after the [Divorce] Judgment was
                 entered and has nothing to do with any marital obligations or
                 any obligation arising under the [Divorce] Judgment.11

III. Jurisdiction over this adversary proceeding

       A. Relevant jurisdictional principles

       The issue now before the Court, raised by the Show-Cause Order, is whether this Court



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            Pl.’s Br. in Response to Show-Cause Or. (Docket # 16) at 8 (emphasis added).

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has subject matter jurisdiction over this adversary proceeding. “[F]ederal courts have a duty to

consider their subject matter jurisdiction in regard to every case and may raise the issue sua

sponte.” Answers in Genesis of Kentucky, Inc. v. Creation Ministries Int’l, Ltd., 556 F.3d 459,

465 (6th Cir. 2009) (citations omitted); see also Carto v. Oakley (In re Oakley), 503 B.R. 407,

421 (Bankr. E.D. Pa. 2013)(“Questions of standing must be considered sua sponte by federal

courts, including bankruptcy courts, as they are akin to subject matter jurisdiction.”).

               Courts must resolve questions of subject matter jurisdiction before
               ruling on the merits of the claim. Gross v. Hougland, 712 F.2d
               1034, 1036 (6th Cir.1983). Where the plaintiff has no Article III
               standing to bring a case, jurisdiction is lacking and the court must
               dismiss it. TCG Detroit v. City of Dearborn, 206 F.3d 618, 622
               (6th Cir.2000). To have Article III standing, a plaintiff must “allege
               personal injury fairly traceable to the defendant's allegedly
               unlawful conduct and likely to be redressed by the requested
               relief.” Murray v. U.S. Dep't of Treasury, 681 F.3d 744, 748 (6th
               Cir.2012). The alleged injury must be both “concrete and
               particularized” and “actual or imminent, not conjectural or
               hypothetical.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.,
               528 U.S. 167, 180, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000) (citing
               Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61, 112 S.Ct.
               2130, 119 L.Ed.2d 351 (1992)).

Imhoff Inv., L.L.C. v. Alfoccino, Inc., No. 14-1704, 2015 WL 4079438, at *2 (6th Cir. July 7,

2015)(emphasis added); see also Lindsey v. Pinnacle Nat’l Bank (In re Lindsey), 726 F.3d 857,

858 (6th Cir. 2013)(explaining that “subject matter jurisdiction is neither forfeitable nor

waivable,” and that whether the court has subject matter jurisdiction is an issue “that takes

absolute priority over all merits questions in a case”).

               Federal courts generally lack subject matter jurisdiction to consider
               moot claims. Rosemere Neighborhood Ass’n v. U.S. Environmental
               Protection Agency, 581 F.3d 1169, 1172–73 (9th Cir.2009). A case
               becomes moot when it no longer satisfies the case-or-controversy
               requirement of Article III, Section 2, of the U.S. Constitution.


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                Specifically, mootness occurs “when the issues presented are no
                longer live or the parties lack a legally cognizable interest in the
                outcome.” PUC v. FERC, 100 F.3d 1451, 1458 (9th Cir.1996).
                The latter situation is commonly referred to as the “personal-
                stake requirement,” and it assures that “federal courts are
                presented with disputes they are capable of resolving” because
                they can afford the prevailing party meaningful relief. U.S.
                Parole Commission v. Geraghty, 445 U.S. 388, 397, 100 S.Ct.
                1202, 63 L.Ed.2d 479 (1980). Accordingly, if the plaintiff
                receives the entire relief sought in a particular action, the case
                generally becomes moot because there is no longer anything in
                dispute between the parties. See generally Gator.com v. L.L.
                Bean, Inc., 398 F.3d 1125, 1131–32 (9th Cir.2005); FERC, 100
                F.3d at 1458.

Clausen Law Firm, PLLC v. Nat'l Acad. of Continuing Legal Educ., 827 F. Supp. 2d 1262, 1267

(W.D. Wash. 2010)(emphasis added); see also Kentucky v. United States ex rel. Hagel, 759 F.3d

588, 595 (6th Cir. 2014)(emphasis added)(citations omitted)(“‘Under Article III of the

Constitution, federal courts may adjudicate only actual, ongoing cases or controversies.’

‘When—for whatever reason—the dispute discontinues or we are no longer able to grant

meaningful relief to the prevailing party, the action is moot, and we must dismiss for lack of

jurisdiction.’”).

        B. Jurisdiction in this case

        The Court concludes that it does not have subject matter jurisdiction over this adversary

because it cannot award any meaningful relief to the Plaintiff. This is so because even if the

Plaintiff is successful in obtaining an order denying Debtor a discharge under 11 U.S.C. § 727(a),

which is the only relief Plaintiff is requesting in this adversary proceeding, he would gain nothing

for himself, beyond what he already has. If Debtor is denied a discharge, any debt the Debtor

owes to Plaintiff will not be discharged in Debtor’s Chapter 7 bankruptcy case. But Plaintiff



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already has this relief, because, as discussed below, any debt the Debtor owes to Plaintiff is

nondischargeable under 11 U.S.C. § 523(a)(15), and thus will not be discharged in this Chapter 7

bankruptcy case.

       In a similar case, Mapley v. Mapley, 437 B.R. 225 (Bankr. E.D. Mich. 2010), this Court

dismissed an adversary proceeding seeking a denial of the debtor’s discharge brought by the

plaintiff (the ex-wife of the debtor). That dismissal was based on a lack of subject matter

jurisdiction, where all of the debts owed by the debtor to the plaintiff were nondischargeable

under either 11 U.S.C. § 523(a)(5) or § 523(a)(15). This Court reasoned:

               [I]t is clear that none of the debt in question will be discharged
               even if the Debtor obtains a discharge in his Chapter 7 case. So
               Plaintiff Gloria Mapley will suffer no injury if the Debtor obtains
               his Chapter 7 discharge. It follows that the relief Plaintiff seeks in
               this adversary proceeding would give her nothing she does not
               already have—what she already has is a claim against the Debtor
               that will not be discharged in the Debtor’s Chapter 7 case. Thus,
               Plaintiff can gain nothing for herself by blocking the Debtor’s
               discharge under § 727. And Plaintiff does not have standing to
               object to the Debtor’s discharge solely on behalf of other creditors.

               For these reasons, Plaintiff cannot satisfy the Article III “case or
               controversy” requirement, and this Court lacks subject matter
               jurisdiction. Put in more practical terms, there is no legitimate
               point to Plaintiff pursuing the only relief she seeks in this adversary
               proceeding (a denial of Debtor’s Chapter 7 discharge.)

Id. at 228-29 (footnotes omitted)(citation omitted).

       C. Plaintiff’s arguments

       In Plaintiff’s brief in response to the Court’s Show-Cause Order, Plaintiff attempts to

distinguish the facts of this case from those in Mapley. First, Plaintiff argues that the third

component of his claim; namely the $30,000 portion of the claim for attorney fees and costs, is



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dischargeable in the Debtor’s bankruptcy case, whereas the debt in Mapley was entirely

nondischargeable.12 Second, Plaintiff argues that his claim for attorney fees and costs arose as a

result of the Debtor’s violation of her obligations under the state court Stipulated Order, which

was entered after the Divorce Judgment was entered, and which, Plaintiff says, therefore had

nothing to do with any obligation in the Divorce Judgment. According to Plaintiff, because of

these differences, the reasoning in Mapley does not apply to this case. The Court disagrees.

       The Court concludes that, in the event that the state court enters an order requiring the

Debtor to pay to Plaintiff the attorney fees and costs he incurred as a result of her being held in

contempt of the Stipulated Order, such debt would be nondischargeable under § 523(a)(15).

       Section 523(a)(15) states:

                 (a) A discharge under section 727, 1141, 1228(a), 1228(b), or
                 1328(b) of this title does not discharge an individual debtor from
                 any debt–

                 ...

                 (15) to a spouse, former spouse, or child of the debtor and not of
                 the kind described in paragraph (5) that is incurred by the debtor in
                 the course of a divorce or separation or in connection with a
                 separation agreement, divorce decree or other order of a court of
                 record, or a determination made in accordance with State or
                 territorial law by a governmental unit[.]

11 U.S.C. § 523(a)(15) (emphasis added). Any debt owing by the Debtor to the Plaintiff arising

out of the Contempt Order would be owed to a former spouse (Plaintiff), and would be a debt

incurred by the Debtor in connection with a divorce decree (the Divorce Judgment) or other

order of a court of record (the Contempt Order entered by the state court in the divorce case –



       12
            Pl.’s Br. in Response to Show-Cause Or. at 10-11.

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the Oakland County Circuit Court). The Stipulated Order that the Debtor violated concerned and

modified the custody arrangement in the Divorce Judgment. And the Contempt Order, in turn,

was based on the Debtor’s violation of the Stipulated Order. Therefore, contrary to Plaintiff’s

argument, the Stipulated Order and the Contempt Order were both “in connection with” the

“divorce decree” within the meaning of § 523(a)(15).

       It is immaterial, for purposes of § 523(a)(15), whether a divorce-related debt arises after a

judgment of divorce has been entered. And it makes no difference, for purposes of § 523(a)(15),

whether the claim arises out of an obligation in the divorce judgment itself or out of an order

entered after entry of the divorce judgment that creates new or modified obligations between the

divorcing parties. Both types of debts are made in connection with the divorce decree or other

order of a court of record. See Tritt v. Tritt (In re Tritt), No. 12-43446, 2014 WL 1347763, at *1

(Bankr. E.D. Texas April 4, 2014)(holding that debts under three separate orders entered after a

divorce judgment was entered between ex-spouses in a divorce case were nondischargeable

under § 523(a)(15): (1) an order sanctioning the ex-wife in the amount of $1,000 for post-

judgment bad faith conduct; (2) an order holding the ex-wife in contempt for violating numerous

provisions of a protective order to which she previously agreed; and (3) an order requiring the ex-

wife to pay $115,432.61 in attorney fees, expenses, and costs plus interest incurred by the ex-

husband in defending the ex-wife’s post-judgment motion for modification of custody)); Reissig

v. Gruber (In re Gruber), 436 B.R. 39 (Bankr. N.D. Ohio 2012)(stating, in dicta, that an award of

attorney fees in a post-divorce proceeding qualifies as a debt that was incurred “‘in connection’”

with the [p]arties’ divorce decree”).

       Plaintiff has cited no authority supporting his argument that § 523(a)(15) does not apply


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to the debt arising from the Contempt Order. And the Debtor in this case agrees that the debt at

issue is nondischargeable under § 523(a)(15).13

        Because the debt at issue is nondischargeable under § 523(a)(15), the Plaintiff here, like

the plaintiff in Mapley, lacks standing in this adversary proceeding. Because Plaintiff already has

the entire relief he seeks for himself in this adversary proceeding, he has no personal stake in

pursuing a denial of the Debtor’s discharge, and the Court cannot afford him any meaningful

relief beyond what he already has received.

        Nor does Plaintiff have standing to object to the Debtor’s discharge on behalf of any

other creditors. See Mapley, 437 B.R. at 229 (quoting Day v. Klingler (In re Klingler ), 301 B.R.

519, 523 (Bankr. N.D. Ill. 2003) (“[T]he debt Klingler owes Day will not be discharged. . . . Day

no longer has any personal stake in any other discharge decision. . . . At most, he is litigating now

to vindicate the rights of any remaining creditors, which he cannot do. Or else he is simply

litigating out of distaste for Klingler, which he also cannot do.”). That is something the United

States Trustee and the Chapter 7 trustee may be able to do, in effect, under 11 U.S.C.

§ 727(c)(1),14 by virtue of their statutory functions and duties. See generally 11 U.S.C.

§§ 323, 704 (Chapter 7 trustee); 28 U.S.C. § 586 (United States Trustee). But under the

Bankruptcy Code, a private party creditor can litigate dischargeability issues only for himself,

even though a single creditor’s success in blocking a discharge under § 727(a) may have the

effect of benefitting other creditors. A private party creditor with a nondischargeable debt may


        13
             Def.’s Br. in Response to Show-Cause Or. at 3.
        14
           In this case, neither the Chapter 7 trustee nor the United States Trustee has objected to the
Debtor’s discharge yet. But they each have an extension of time until August 28, 2015 to do so. (See the
Order at Docket # 115 in main case).

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not object to a debtor’s discharge on behalf of other creditors. Plaintiff has cited no case holding

otherwise.

        Plaintiff argues that, as a “creditor” of the Debtor, he is authorized to file an adversary

proceeding objecting to the Debtor’s discharge by § 727(c)(1).15 But that section’s general

authorization for a “creditor” to object to a discharge does not override, but rather is necessarily

subject to, the constitutional “case or controversy” requirement, discussed in the cases cited in

parts III.A and III.C above.

        Plaintiff argues further that even if he is a creditor with a nondischargeable claim, and

therefore cannot allege an individualized injury that will occur if the Debtor’s discharge is

granted, Plaintiff still has standing to pursue the § 727 action on behalf of “(1) the entire creditor

body, (2) the federal judicial system, and (3) the people of the United States” who all “have a

vested interest” in “deny[ing] a discharge to ‘those debtors who fall within any of the exceptions

set forth in § 727(a).’”16 Finally, Plaintiff argues that “[i]f this Court dismisses this action for

lack of subject matter jurisdiction, it will have created an irreconcilable conflict with

Fed.R.Bank.P. 7041 and L.B.R. 7041-1.”17

        None of these arguments have merit. Even if Plaintiff was authorized generally to file the

adversary proceeding under § 727(c)(1) due to his status as a creditor, he must be viewed as

lacking standing to prosecute the adversary proceeding as soon as the Court determines that he is

        15
            Pl.’s Br. in Response to Show-Cause Or. at 13. Section 727(a) of the Bankruptcy Code states
that “[t]he trustee, a creditor, or the United States trustee may object to the granting of a discharge under
subsection (a) of this section.” 11 U.S.C. § 727(c)(1) (emphasis added).
        16
          See Pl.'s Br. in Response to Show-Cause Or. at 11-13 (relying on In re Levine, 287 B.R. 683
(Bankr. E.D. Mich. 2002).
        17
             Id. at 12.

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owed only a nondischargeable debt. (And this Court has now made this determination as to

Plaintiff).

               Although a case or controversy may exist at the time the litigation
              is commenced, it must continue at every stage of a proceeding:

                      That restriction requires that the party invoking
                      federal jurisdiction have standing—the “personal
                      interest that must exist at the commencement of the
                      litigation.” Friends of Earth, Inc. v. Laidlaw
                      Environmental Services (TOC), Inc., 528 U.S. 167,
                      189, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000)
                      (internal quotation marks omitted). But it is not
                      enough that the requisite interest exist at the outset.
                      “To qualify as a case fit for federal-court
                      adjudication, ‘an actual controversy must be extant
                      at all stages of review, not merely at the time the
                      complaint is filed.’” Arizonans for Official English
                      v. Arizona, 520 U.S. 43, 67 [117 S.Ct. 1055, 137
                      L.Ed.2d 170] (1997).

              Davis v. Federal Election Commission, 554 U.S. at 732–33, 128
              S.Ct. 2759; see, e.g., Chamber of Commerce of U.S. v. E.P.A., 642
              F.3d 192, 199 (D.C.Cir.2011).

              The doctrine of mootness “has been described as ‘the doctrine of
              standing set in a time frame: The requisite personal interest that
              must exist at the commencement of litigation (standing) must
              continue throughout its existence (mootness).’” Arizonans for
              Official English v. Arizona, 520 U.S. 43, 68, n. 22, 117 S.Ct. 1055,
              137 L.Ed.2d 170 (1997) (quoting United States Parole Comm'n v.
              Geraghty, 445 U.S. 388, 397, 100 S.Ct. 1202, 63 L.Ed.2d 479
              (1980), which quoted Monaghan, Constitutional Adjudication: The
              Who and When, 82 Yale L.J. 1363, 1384 (1973)). “In sum, the
              mooting of a case can occur in one of two ways. It may occur
              because the legal issue in dispute is no longer amenable to review
              and judicial relief would serve no purpose, or it may occur
              because a party no longer has a personal stake in the
              controversy and has, in essence, been divested of standing.” 15
              Moore's Federal Practice—Civil § 101.90 (2012).

421 Chestnut Partners, LP v. Aloia (In re Aloia), 496 B.R. 366, 377 (Bankr. E.D. Pa.


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2013)(emphasis added). “[W]hen the asserted harm is a ‘generalized grievance’ shared in

substantially equal measure by all or a large class of citizens, that harm alone normally does not

warrant exercise of [federal] jurisdiction.” Warth v. Seldin, 422 U.S. 490, 499 (1975). And the

fact that third parties may benefit if the Debtor is denied a discharge also does not confer

standing on Plaintiff, under the facts of this case. In Seldin, the United States Supreme Court

explained:

               In essence the question of standing is whether the litigant is
               entitled to have the court decide the merits of the dispute or of
               particular issues. This inquiry involves both constitutional
               limitations on federal-court jurisdiction and prudential limitations
               on its exercise. E.g., Barrows v. Jackson, 346 U.S. 249, 255—256,
               73 S.Ct. 1031, 1034—1035, 97 L.Ed. 1586 (1953). In both
               dimensions it is founded in concern about the proper—and
               properly limited—role of the courts in a democratic society. See
               Schlesinger v. Reservists to Stop the War, 418 U.S. 208, 221—227,
               94 S.Ct. 2925, 2932—2935, 41 L.Ed.2d 706 (1974); United States
               v. Richardson, 418 U.S. 166, 188—197, 94 S.Ct. 2940,
               2952—2956, 41 L.Ed.2d 678 (1974) (Powell, J., concurring).

               In its constitutional dimension, standing imports justiciability:
               whether the plaintiff has made out a ‘case or controversy’
               between himself and the defendant within the meaning of Art.
               III. This is the threshold question in every federal case,
               determining the power of the court to entertain the suit. As an
               aspect of justiciability, the standing question is whether the
               plaintiff has ‘alleged such a personal stake in the outcome of the
               controversy’ as to warrant his invocation of federal-court
               jurisdiction and to justify exercise of the court's remedial powers
               on his behalf. Baker v. Carr, 369 U.S. 186, 204, 82 S.Ct. 691, 703,
               7 L.Ed.2d 663 (1962). The Art. III judicial power exists only to
               redress or otherwise to protect against injury to the
               complaining party, even though the court's judgment may
               benefit others collaterally. A federal court's jurisdiction therefore
               can be invoked only when the plaintiff himself has suffered
               ‘some threatened or actual injury resulting from the putatively
               illegal action . . ..’ Linda R.S. v. Richard D., 410 U.S. 614, 617, 93
               S.Ct. 1146, 1148, 35 L.Ed.2d 536 (1973). See Data Processing


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                Service v. Camp, 397 U.S. 150, 151—154, 90 S.Ct., 827,
                829—830, 25 L.Ed.2d 184 (1970).

Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (emphasis added)(footnotes omitted).

        In re Levine, 287 B.R. 683 (Bankr. E.D. Mich. 2002), a case cited by Plaintiff in support

of his position, is not on point. Levine concerned only the settlement of a § 727(a) action by the

Chapter 7 trustee, not dismissal of the action for lack of jurisdiction. The issue in Levine was not

whether the plaintiff chapter 7 trustee had standing to prosecute an adversary proceeding

objecting to the debtor’s discharge under § 727(a), but rather whether the plaintiff trustee could

settle the objection to the discharge for consideration. Levine has nothing to do with the

jurisdictional issue in this case.

        Fed. R. Bankr. P. 7041 and LBR 7041-1 also do not apply, and do not inform the Court

on the jurisdictional issue in this case. Those rules only apply when the plaintiff, singly or jointly

with the other parties, seeks to voluntarily dismiss a § 727 action. Fed. R. Bankr. P. 7041 states:

                Rule 41 F.R.Civ.P. applies in adversary proceedings, except that a
                complaint objecting to the debtor’s discharge shall not be
                dismissed at the plaintiff's instance without notice to the trustee,
                the United States trustee, and such other persons as the court may
                direct, and only on order of the court containing terms and
                conditions which the court deems proper.

(Emphasis added).

        LBR 7041-1 states:

                When the parties to an action under § 727 propose to dismiss the
                action, they shall file a joint statement of the consideration
                received or to be received by the plaintiff. The plaintiff shall then
                serve the joint statement on all creditors and the trustee, with a
                notice stating that the deadline to file objections is 14 days after
                service, and file a certificate of service. If no timely objection is
                filed, the plaintiff shall promptly file a certificate of no response


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               and submit the agreed proposed dismissal order. If a timely
               response is filed, the court will set the matter for hearing.

(Emphasis added).

       Neither Fed. R. Bankr. P. 7041 nor LBR 7041-1 apply to dismissals by the Court, due to a

lack of subject matter jurisdiction.

IV. Conclusion

       For the reasons stated in this opinion, the Court will enter an order dismissing this

adversary proceeding, for lack of subject matter jurisdiction.


Signed on July 31, 2015                               /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge




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